Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Shift Pattern, Inc.

2.   All other names debtor
     used in the last 8 years
                                  DBA Group 2 Automotive
     Include any assumed          DBA Group 2 Motorsports
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  14400 NE North Woodinville Way
                                  Woodinville, WA 98072
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  King                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                Case 24-11356-TWD                   Doc 1        Filed 05/30/24           Ent. 05/30/24 22:54:56                Pg. 1 of 10
Debtor    Shift Pattern, Inc.                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                 Case 24-11356-TWD                      Doc 1      Filed 05/30/24              Ent. 05/30/24 22:54:56                    Pg. 2 of 10
Debtor    Shift Pattern, Inc.                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                 Case 24-11356-TWD                            Doc 1      Filed 05/30/24             Ent. 05/30/24 22:54:56                  Pg. 3 of 10
Debtor   Shift Pattern, Inc.                                                          Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                Case 24-11356-TWD            Doc 1       Filed 05/30/24         Ent. 05/30/24 22:54:56            Pg. 4 of 10
Debtor    Shift Pattern, Inc.                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 30, 2024
                                                  MM / DD / YYYY


                             X /s/ Melissa Donovan                                                        Melissa Donovan
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Jennifer L. Neeleman                                                    Date May 30, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jennifer L. Neeleman 37374
                                 Printed name

                                 Neeleman Law Group, P.C.
                                 Firm name

                                 1403 8th Street
                                 Marysville, WA 98270
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (425) 212-4800                Email address      courtmail@expresslaw.com

                                 37374 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                 Case 24-11356-TWD                  Doc 1        Filed 05/30/24             Ent. 05/30/24 22:54:56                 Pg. 5 of 10
 Fill in this information to identify the case:
 Debtor name Shift Pattern, Inc.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Absolute                                            Services Provided                                                                                             $9,000.00
 Resurfacing
 16625 Redmond
 Way M472
 Redmond, WA
 98052
 Alexander's Heating                                 Mechanics Lien                                                                                              $14,000.00
 &
 Air Conditioning
 14691 NE 95th St.
 Redmond, WA
 98052
 Comcast                                             Services Provided                                                                                               $900.00
 P.O. Box 60533
 City of Industry, CA
 91716-0533
 Greg Jenkins                                        Loan                                                                                                        $55,000.00
 14410 NE North
 Woodinville Way
 Woodinville, WA
 98072
 IRS                                                 Taxes                                                                                                       $35,000.00
 Centralized
 Insolvency
 P.O. Box 7346
 Philadelphia, PA
 19101-7346
 Puget Sound Energy                                  Services Provided                                                                                           $13,485.00
 P.O. Box 91269
 Bellevue, WA
 98009-9269
 Unifirst                                            Services Provided                                                                                             $9,000.00
 P.O. Box 650481
 Dallas, TX
 75265-0481




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                    Case 24-11356-TWD               Doc 1         Filed 05/30/24              Ent. 05/30/24 22:54:56                        Pg. 6 of 10
 Debtor    Shift Pattern, Inc.                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 WA Department of                                    Taxes                                                                                                       $15,000.00
 Revenue
 2101 4th Ave, Ste
 1400
 Seattle, WA 98121
 WA Dept of L & I                                    Taxes                                                                                                       $18,000.00
 PO Box 44000
 Olympia, WA
 98504-4000
 WA Employment                                       Taxes                                                                                                       $10,000.00
 Security Dept
 PO Box 34949
 Seattle, WA
 98124-1949
 Waste Management                                    Services Provided                                                                                             $2,000.00
 P.O. Box 3020
 Monroe, WI
 53566-8320
 Will Blankenship                                    Loan                                                                                                        $38,000.00
 5200 St. Charles
 Ave.
 New Orleans, LA
 70115
 Woodinville                                         Services Provided                                                                                           $28,000.00
 Contractors
 13230 N Echo Lake
 Rd
 Snohomish, WA
 98296




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




                    Case 24-11356-TWD               Doc 1         Filed 05/30/24              Ent. 05/30/24 22:54:56                        Pg. 7 of 10
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                        1ST WESTERN EQUIPMENT FINANCE
                        100 PRAIRIE CENTER DR
                        EDEN PRAIRIE, MN 55344


                        ABSOLUTE RESURFACING
                        16625 REDMOND WAY M472
                        REDMOND, WA 98052


                        ALEXANDER'S HEATING &
                        AIR CONDITIONING
                        14691 NE 95TH ST.
                        REDMOND, WA 98052


                        ATTORNEY GENERAL FOR WA STATE
                        BANKRUPTCY & COLLECTIONS UNIT
                        800 FIFTH AVE, 20TH FLOOR
                        SEATTLE, WA 98104


                        COMCAST
                        P.O. BOX 60533
                        CITY OF INDUSTRY, CA 91716-0533


                        GREG JENKINS
                        14410 NE NORTH WOODINVILLE WAY
                        WOODINVILLE, WA 98072


                        IRS
                        CENTRALIZED INSOLVENCY
                        P.O. BOX 7346
                        PHILADELPHIA, PA 19101-7346


                        P.F.G. REAL ESTATE HOLDINGS
                        C/O BERESFORD BOOTH
                        145 THIRD AVE. S, SUITE 200
                        EDMONDS, WA 98020


                        PUGET SOUND ENERGY
                        P.O. BOX 91269
                        BELLEVUE, WA 98009-9269


                        UNIFIRST
                        P.O. BOX 650481
                        DALLAS, TX 75265-0481




    Case 24-11356-TWD    Doc 1   Filed 05/30/24   Ent. 05/30/24 22:54:56   Pg. 8 of 10
                    UNITED STATES ATTORNEYS OFFICE
                    ATTN: BANKRUPTCY ASSISTANT
                    700 STEWART STREET, ROOM 5220
                    SEATTLE, WA 98101


                    WA DEPARTMENT OF REVENUE
                    2101 4TH AVE, STE 1400
                    SEATTLE, WA 98121


                    WA DEPT OF L & I
                    PO BOX 44000
                    OLYMPIA, WA 98504-4000


                    WA EMPLOYMENT SECURITY DEPT
                    PO BOX 34949
                    SEATTLE, WA 98124-1949


                    WASTE MANAGEMENT
                    P.O. BOX 3020
                    MONROE, WI 53566-8320


                    WILL BLANKENSHIP
                    5200 ST. CHARLES AVE.
                    NEW ORLEANS, LA 70115


                    WOODINVILLE CONTRACTORS
                    13230 N ECHO LAKE RD
                    SNOHOMISH, WA 98296




Case 24-11356-TWD    Doc 1   Filed 05/30/24   Ent. 05/30/24 22:54:56   Pg. 9 of 10
                                        United States Bankruptcy Court
                                            Western District of Washington
 In re   Shift Pattern, Inc.                                                        Case No.
                                                           Debtor(s)                Chapter     11




                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Shift Pattern, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




May 30, 2024                                   /s/ Jennifer L. Neeleman
Date                                           Jennifer L. Neeleman 37374
                                               Signature of Attorney or Litigant
                                               Counsel for Shift Pattern, Inc.
                                               Neeleman Law Group, P.C.
                                               1403 8th Street
                                               Marysville, WA 98270
                                               (425) 212-4800 Fax:(425) 212-4802
                                               courtmail@expresslaw.com




         Case 24-11356-TWD           Doc 1     Filed 05/30/24          Ent. 05/30/24 22:54:56        Pg. 10 of 10
